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5    Attorney for Plaintiff, ADAM GHADIRI
6
                                    UNITED STATES DISTRICT COURT
7
                                   CENTRAL DISTRICT OF CALIFORNIA
8
9
10   ADAM GHADIRI, an individual,                    Case No.:

11                    Plaintiff,                     COMPLAINT FOR DAMAGES AND
                                                     INJUNCTIVE RELIEF FOR VIOLATIONS
12              vs.                                  OF AMERICANS WITH DISABILITIES
                                                     ACT; CALIFORNIA UNRUH CIVIL
13   COMMERCIAL RESTORATION                          RIGHTS ACT; GENERAL NEGLIGENCE
     COMPANY, a Business Entity,
14   COMMERCIAL RESTORATION
     COMPANY OF CA, LLC., a California
15   Limited Liability Company and B9
16   SEQUOIA CERRITOS INDUSTRIAL
     OWNER LP, a Delaware Limited Partnership,
17
                      Defendants.
18
19
            Plaintiff ADAM GHADIRI (“Plaintiff”) complains of defendants COMMERCIAL
20
21   RESTORATION COMPANY, a Business Entity, COMMERCIAL RESTORATION

22   COMPANY OF CA, LLC., a California Limited Liability Company and B9 SEQUOIA

23   CERRITOS INDUSTRIAL OWNER LP, a Delaware Limited Partnership, (all defendants
24
     collectively referenced herein as “Defendants”) as follows:
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26
27

28
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1
                                                 PARTIES
2
            1.      Plaintiff is a California resident with physical disabilities. He suffers from severe
3

4    arthritis in his knees and back. He has been diagnosed with spinal stenosis and myelopathy

5    (nerve damage). He has difficulty walking and uses a cane for long distance mobility. He
6    suffers daily with pain that requires him to take prescription pain medication. He has a
7
     California driver’s license and drives for business activities and for his household errands.
8
     Plaintiff has a California handicap parking placard which is prominently displayed in his
9
     vehicle.
10
11          2.      Defendant COMMERCIAL RESTORATION COMPANY is a restoration

12   company located at 17517 Fabrica Way, Cerritos, CA 90703.

13          3.      Plaintiff is informed and believes and on that basis alleges that defendant
14   COMMERCIAL RESTORATION COMPANY OF CA, LLC. is the owner and business license
15
     holder of COMMERCIAL RESTORATION COMPANY.
16
            4.      Plaintiff is informed and believes and on that basis alleges that defendants B9
17
     SEQUOIA CERRITOS INDUSTRIAL OWNER LP are the owner of the premises, building,
18
19   and/or the land located at 17517 Fabrica Way, Cerritos, CA 90703.

20          5.      Plaintiff does not know the true names of all possible defendants, their business

21   capacities, their ownership connection to the property and the business, or their relative
22
     responsibilities in causing the access violations herein complained of, and plaintiff alleges a
23
     joint venture and common enterprise by all defendants. Plaintiff is informed and believes that
24
     each of the defendants is responsible in some capacity for the events and damages alleged or is a
25
     necessary party for obtaining appropriate relief. Plaintiff shall seek leave to amend the
26
27   complaint to name and add other defendants when their identities are ascertained.

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2
                                         JURISDICTION & VENUE
3

4            6.      This court has subject matter jurisdiction over this action pursuant to 28 U.S.

5    Code § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with Disabilities Act of
6    1990, 42 U.S. Code § 12101, et seq.
7
             7.      Pursuant to pendant jurisdiction, an attendant and related cause of action arising
8
     from the same nucleus of transactions is brought under California’s Unruh Civil Rights Act
9
     (Civil Code §§51-52) which expressly incorporates the Americans with Disabilities Act.
10
11           8.      Venue is proper in this court pursuant to 28 U.S. Code § 1391(b) and is founded

12   on the fact that the real property which is the subject of this action is located in this district and

13   Plaintiff’s causes of action arose in the district.
14                                      FACTUAL ALLEGATIONS
15
             9.      Plaintiff went to COMMERCIAL RESTORATION COMPANY on or about
16
     June 2024 to inquire about services. When entering the parking lot, Plaintiff noticed that there
17
     was no handicap parking, handicap parking sign or van access. The condition of parking lot,
18
19   therefore, denied Plaintiff, as a disabled person, full and equal access to the business and caused

20   him difficulty and frustration in his attempts to consummate business there.

21           10.     Failing to provide full and properly maintained access to the store amounts to a
22
     violation of the operative American with Disabilities Act Guidelines (“ADAAG”). Additionally,
23
     these violations demonstrate Defendants are not implementing any policy of upkeep so as to
24
     give disabled persons practical access to the given premises and services equal to the access
25
     enjoyed by non-disabled persons; this amounts to illegal discrimination against disabled persons
26
27   who wish to patronize COMMERCIAL RESTORATION COMPANY as a place of public

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1
     accommodation.
2
            11.     Plaintiff personally encountered violations of applicable legal obligations and
3

4    standards that prevented him from full and equal access to convenient, safe, adequate, and

5    appropriate facilities. Plaintiff would like to patronize this establishment again but cannot do so
6    until the Defendants remove these barriers or obstacles to proper access equal for everyone and
7
     correct all violations of law. Plaintiff seeks to have all barriers and obstacles related to disabled
8
     persons remedied, whichever may exist, regardless of whether he personally encountered any of
9
     them. See Doran v. 7-11, 506 F3d 1191 (9th Cir 2007), holding that once a handicapped
10
11   plaintiff encounters one barrier to equal access at a given site, he can sue to have all other

12   barriers relating to his disability removed even if he did not personally encounter those barriers

13   on the given occasion. Additionally, Plaintiff believes and alleges that Defendants’ failure to
14   remedy and remove the specific barriers (difficulties) to access for disabled persons, as
15
     mentioned in the Paragraphs above, is intentional because (a) these particular barriers are
16
     obvious, and (b) Defendants, jointly and severally, exercised full control and dominion over the
17
     conditions on the land and at the business at this particular location, and therefore the lack of
18
19   and barriers to full equal access for disabled persons was not mere “accidental oversight”, given

20   that had Defendants intended any other situation they had the means and ability to make the

21   land and business fully compliant with the legal requirements mandated by the laws, as set forth
22
     in the causes of action below.
23
                                 FIRST CAUSE OF ACTION
24           VIOLATION OF THE AMERICANS WITH DISABILITES ACT OF 1990
                    (Against All Defendants (42 U.S. Code § 12101, et seq.))
25
26          12.     Plaintiff realleges and incorporates by reference the allegations contained in all
27

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1
     prior paragraphs of this complaint.
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            13.      Defendants own, operate, lease from, or lease to a place of public
3

4    accommodation commonly known as COMMERCIAL RESTORATION COMPANY. Under

5    the ADA, it is an act of discrimination for any person(s) who owns, leases (or leases to), or
6    operates a place of public accommodation to deny to disabled persons the full and equal
7
     enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of any
8
     place of public accommodation. 42 U.S. Code § 12182(a). U.S. Code § 12182(b) defines
9
     discrimination, inter alia, as follows:
10
11                a. A failure to make reasonable modifications in policies, practices, or

12                   procedures, when such modifications are necessary to afford such goods,

13                   services, facilities, privileges, advantages, or accommodations to
14                   individuals with disabilities, unless the entity can demonstrate that making
15
                     such modifications would fundamentally alter the nature of such goods,
16
                     services, facilities, privileges, advantages, or accommodations. 42 U.S.
17
                     Code § 12182(b)(2)(A)(ii).
18
19                b. A failure to remove architectural barriers, and communication barriers that

20                   are structural in nature, in existing facilities, …where such removal is

21                   readily achievable. See 42 U.S. Code § 12182(b)(2)(A)(iv). Barriers can
22
                     be defined by reference to the ADAAG, found at 28 Code Federal
23
                     Regulations, Part 36, Appendix D.
24
                  c. A failure to design and construct facilities for first occupancy, if later than
25
                     30 months after July 26, 1990, that are readily accessible to and usable by
26
27                   individuals with disabilities, except where an entity can demonstrate that it

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                     is structurally impracticable to meet the requirements of such subsection in
2
                     accordance with standards set forth or incorporated by reference in
3

4                    regulations issued under this subchapter. 42 U.S. Code § 12183(a)(1).

5
6            14.     Defendants are persons or business entities that own, operate, or lease a place of
7
     public accommodation. As such, Defendants are required to avoid discrimination and have
8
     specific duties to (1) ensure that all construction, alteration, or modification is barrier-free as to
9
     disabled persons and complies with the currently operative ADAAG; and/or (2) remove all
10
11   existing barriers to disabled persons where such removal is readily achievable, and/or (3) to

12   provide alternatives to barrier removal for the benefit of the disabled persons so that they do

13   enjoy equal access at places of public accommodation. Defendants have failed to meet these
14   obligations. Consequently, Plaintiff is entitled to court-ordered relief against the defendants, to
15
     make sure that within six months from the beginning of this action the defendants render their
16
     public accommodation premises fully compliant with the ADA.
17
                                   SECOND CAUSE OF ACTION
18                       VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
                           (Against All Defendants (Cal Civil Code § 51-53))
19
         15. Plaintiff realleges and incorporates by reference the allegations contained in all prior
20
21   paragraphs of this complaint.

22       16. Because Defendants violated Plaintiff’s rights under the ADA, they also violated the

23   Unruh Civil Rights Act and are liable for damages. Civil Code § 51(f), 52(a).
24
         17. Because the violation of the Unruh Civil Rights Act resulted in difficulty, discomfort,
25
     and embarrassment for the plaintiff, the defendants are also responsible for statutory damages,
26
     i.e., civil penalties. See Civil Code § 51(f), 52(a).
27

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                                       THIRD CAUSE OF ACTION
2                                       GENERAL NEGLIGENCE
                                         (Against All Defendants)
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        18. Plaintiff realleges and incorporates by reference the allegations contained in all prior
4
     paragraphs of this complaint.
5
6       19. Defendants owe a duty of care to Plaintiff, arising under the ADA and Unruh Civil

7    Rights Act, to provide safe, convenient, and accessible facilities. Their violations of this duty,
8    as alleged in the preceding paragraphs of this complaint, has caused inconvenience, injury, and
9
     damage to Plaintiff in the amount of at least minimal amounts of damages allowed by
10
     applicable statutes, the exact amount to be determined at the trial.
11
                                          PRAYER FOR RELIEF
12
13          WHEREFORE, Plaintiff prays that this court award damages and provide relief against

14   all named Defendants, jointly and severally, as follows:

15          1. For mandatory injunctive relief, compelling Defendants jointly and severally to
16   comply with the Americans with Disability Act and the California Unruh Civil Rights Act by
17
     fully correcting all violations of the requirements of these laws within six months of being
18
     served with Summons and Complaint in this action, and that said Defendants be required to
19
     report to Plaintiff and to the Court of the actual status of the correction of the defects charged in
20
21   this Complaint on the next day after the six month period has expired.

22          2. For damages under the Americans with Disability Act and/or the Unruh Civil Rights

23   Act where applicable, which statutes provide for actual damages and a statutory minimum of
24
     $4,000 per violation. If the Plaintiff cannot recover under both Unruh and ADA,
25
     simultaneously, an election will be made prior to or at trial, at an appropriate stage in these legal
26
     proceedings.
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            3. For damages for general negligence, in the amount of at least minimal amounts of
2
     damages allowed by applicable statutes, or alternatively $4,000, the exact amount to be
3

4    determined at trial.

5           4. For reasonable litigation expenses and costs of suit pursuant to 42 U.S. Code § 12205,
6    Cal Civil Code § 52, and Cal Code of Civil Procedure § 1021.5. For reasonable attorneys’ fees
7
     pursuant to 42 U.S. Code § 12205, Cal Civil Code § 52, and Cal Code of Civil Procedure §
8
     1021.5, in the amount of $4,000.
9
            5. For such other and further relief as the court deems just and proper.
10

11

12   DATE: August 6, 2024                         THE DISABILITY ACCESS CENTER

13
                                                  __________________________________
14                                                Faud Haghighi, Esq.
15                                                Attorney for Plaintiff,
                                                  ADAM GHADIRI
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